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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 DAVID ELLIOT,                                             Case No. _____________

                        Plaintiff,
                                                           COMPLAINT FOR VIOLATIONS
            v.                                             OF THE FEDERAL SECURITIES
                                                           LAWS
 NOBLE CORPORATION, CHARLES M.
 SLEDGE, PAUL ARONZON, PATRICK J.
                                                           JURY TRIAL DEMANDED
 BARTELS JR., ROBERT W. EIFLER, ALAN
 J. HIRSHBERG, ANN D. PICKARD, and
 MELANIE M. TRENT,

                        Defendants.




       Plaintiff David Elliot (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                        NATURE AND SUMMARY OF THE ACTION

       1.        This is a stockholder action brought by Plaintiff against Noble Corporation

(“Noble” or the “Company”) and the members of Noble’s Board of Directors (the “Board” or the

“Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and

Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”), in connection

with the Board’s attempt to sell Noble to The Drilling Company of 1972 A/S (“Maersk Drilling”)

(the “Proposed Transaction”).
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      2.      On November 10, 2021, Noble entered into a Business Combination Agreement

with Maersk Drilling, Noble Finco Limited, an indirect, wholly owned subsidiary of Noble

(“Topco”), and Noble Newco Sub Limited, a direct, wholly owned subsidiary of Topco (“Merger

Sub”) (the “Merger Agreement”). Under the terms of the Merger Agreement, Noble will merge

with and into Merger Sub and each Noble share will be converted into one newly issued ordinary

share of Topco. Additionally, Topco will make a tender offer to Maersk Drilling’s shareholders

in which Maersk Drilling shareholders may exchange each Maersk Drilling share for 1.6137

shares of Topco and elect cash consideration for up to $1,000 of their Maersk Drilling shares,

subject to an aggregate cap of $50 million.

      3.      On April 11, 2022, the Board authorized the filing of the materially incomplete and

misleading Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC.

Specifically, the Proxy Statement, which recommends that Noble stockholders vote their shares

in favor of the Proposed Transaction, contains materially incomplete and misleading information

concerning, among other things, the Company’s financial projections and the financial analyses

that support the fairness opinion provided by the Company’s financial advisor, Ducera Securities

LLC’s (“Ducera”).

      4.      The failure to adequately disclose such material information constitutes a violation

of Sections 14(a) and 20(a) of the Exchange Act as Noble stockholders need such information in

order to make a fully informed decision in connection with the Proposed Transaction.

      5.      The special meeting for Noble stockholders to vote on the Proposed Transaction is

currently scheduled for May 10, 2022. It is imperative that such Exchange Act violations are

promptly cured to enable Plaintiff and Noble’s other shareholders to make an informed decision




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whether to vote their shares in favor of the Proposed Transaction. Therefore, Plaintiff seeks to

enjoin the stockholder vote unless and until such Exchange Act violations are cured.

                                  JURISDICTION AND VENUE

         6.      This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

         7.      Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

         8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Noble’s common stock trades on

the New York Stock Exchange, which is headquartered in this District, rendering venue in this

District appropriate.

                                           THE PARTIES

         9.      Plaintiff is, and has been at all relevant times, the owner of shares of Noble common

stock.

         10.     Defendant Noble is incorporated in the Cayman Islands, with its principal executive

offices located at 13135 Dairy Ashford, Suite 800, Sugar Land, Texas 77478. Noble’s shares trade

on the New York Stock Exchange under the ticker symbol “NE.”

         11.     Defendant Charles M. Sledge has been a director of the Company at all relevant

times.




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         12.     Defendant Paul Aronzon has been a director of the Company at all relevant times.

         13.     Defendant Patrick J. Bartels Jr. has been a director of the Company at all relevant

times.

         14.     Defendant Robert W. Eifler has been President, Chief Executive Officer and a

director of the Company at all relevant times.

         15.     Defendant Alan J. Hirshberg has been a director of the Company at all relevant

times.

         16.     Defendant Ann D. Pickard has been a director of the Company at all relevant times.

         17.     Defendant Melanie M. Trent has been a director of the Company at all relevant

times.

         18.     Defendants identified in paragraphs 11-17 are collectively referred to herein as the

“Board” or the “Individual Defendants.”

                                SUBSTANTIVE ALLEGATIONS

Background of the Company

         19.     Founded in 1921, Noble, together with its subsidiaries, operates as an offshore

drilling contractor for the oil and gas industry worldwide. The Company provides contract drilling

services to the oil and gas industry through its fleet of mobile offshore drilling units. As of

February 16, 2022, Noble operated a fleet of 20 offshore drilling units, which included 12 floaters

and 8 jackups.

The Proposed Transaction

         20.     On November 10, 2021, Noble announced that it had entered into the Proposed

Transaction, stating, in relevant part:

         SUGAR LAND, Texas and COPENHAGEN, Denmark, Nov. 10, 2021 -- Noble
         Corporation (NYSE: NE) (“Noble”) and The Drilling Company of 1972 A/S (CSE:




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DRLCO) (“Maersk Drilling”) today announced that they have entered into a
definitive business combination agreement to combine in a primarily all-stock
transaction. Following the completion of the transaction, the Maersk Drilling
shareholders and Noble shareholders will each own approximately 50% of the
outstanding shares of the combined company. The combined company will be
named Noble Corporation and its shares will be listed on the New York Stock
Exchange (“NYSE”) and Nasdaq Copenhagen.

Noble and Maersk Drilling share a very strong conviction about the compelling
industrial logic for taking this step to create a differentiated offshore drilling
company with the scale, capabilities, and resources to successfully serve a broad
range of customers. The combined company will have a modern, high-end fleet of
floaters and jackup rigs across benign and harsh environments able to meet the
needs of customers in the most attractive oil and gas basins. This transaction will
unite and leverage the strong capabilities of Noble and Maersk Drilling, which both
have decades of experience, differentiated value propositions, and unwavering
commitments to best-in-class safety and service quality.

The combination is expected to generate estimated annual run-rate synergies of
USD 125 million, which will create significant value for shareholders. The
combined company will benefit from a diverse revenue mix, a robust contract
backlog with significant earnings visibility, a solid balance sheet, and a strong free
cash flow potential, supporting the potential for return of capital to shareholders
while providing resiliency through the cycle.

The business combination agreement has been unanimously approved by the
Boards of Directors of Noble and Maersk Drilling, and the transaction is also
supported by Noble's top three shareholders, which collectively currently own
approximately 53% of Noble shares, and APMH Invest A/S which currently owns
approximately 42% of the share capital and votes of Maersk Drilling. In addition,
certain foundations related to APMH Invest A/S, which currently own
approximately 12% of the share capital and votes of Maersk Drilling, have
expressed their intention to support the transaction.

Maersk Drilling’s Chairperson of the Board of Directors, Claus V. Hemmingsen,
said: “This combination carries strong industry logic. With the combination we are
creating a differentiated provider of offshore drilling services, which will be able
to enhance the customer experience through increased scale, global reach, and
industry-leading innovation. The combination will create value for all shareholders
and will offer investors a unique opportunity to benefit from the market recovery,
a robust financial position and strong free cash flow potential, all paving the way
for the potential return of capital to shareholders.”

Noble’s Chairperson of the Board of Directors, Charles M. (Chuck) Sledge, said:
“The combination of Noble and Maersk Drilling will create a leading offshore
driller with global scale, a strong balance sheet and significant free cash flow




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generation potential. The transaction will be accretive to free cash flow per share,
and I am confident that this combination will deliver meaningful value to all
shareholders.”

Strategic rationale
The combination of Noble and Maersk Drilling is underpinned by a compelling strategic
rationale for all stakeholders:

   •   Creating a world class offshore driller: The combined company will
       benefit from a modern, high-end fleet comprising of 20 floaters and 19
       jackup rigs across benign and harsh environments, which will serve a broad
       portfolio of high quality, blue-chip customers.

   •   Enhancing the customer experience: The combination will bring together
       two complementary cultures with an unwavering commitment to best-in
       class safety performance and customer satisfaction. The combined company
       will be a leader and first-mover in innovation and sustainability.

   •   Accretive to all shareholders: The realization of the potential annual cost
       synergies of USD 125 million is expected to be front-loaded with the full
       potential to be realized within two years after closing of the transaction. The
       synergies are expected to be accretive to free cash flow per share. The
       combined company's scale will significantly enhance its cost-
       competitiveness.

   •   Platform for strong cash flow generation and distribution: The
       combined company is expected to have a normalized free cash flow
       potential of up to USD 375 million in 2023 and onwards with a highly
       attractive free cash flow yield potential, and additional cash flow growth
       stemming from the recovery of the international offshore drilling market.
       The balance sheet of the combined company will be best-in class with low
       net leverage and strong liquidity including a combined cash balance of
       approximately USD 900 million, providing resiliency through the cycle and
       allowing the combined company to focus on implementing a sustainable
       return of capital policy for shareholders.

Pro-forma financials

In the last twelve months ended September 2021, Noble and Maersk Drilling had
combined pro-forma revenue of approximately USD 2.1 billion. As of 30
September 2021 (pro-forma for the asset divestitures announced by Noble and
Maersk Drilling), the companies had a combined cash balance of approximately
USD 900 million resulting in net debt of approximately USD 600 million with no
newbuild capex commitments. As of 30 September 2021, the companies had
revenue backlog of USD 2.4 billion (pro-forma for the asset divestitures).

Leadership team



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Upon the closing of the transaction, Robert W. Eifler, Noble’s President and Chief
Executive Officer, will become President and Chief Executive Officer of the
combined company and will be a member of the Board of Directors.

Commenting on the transaction, Robert W. Eifler stated, “Both Noble and Maersk
Drilling have many decades of history as leaders in the offshore drilling industry.
I look forward to the future as these two great organizations come together to
create a stronger combined company. Our shared passion for safety and
operational performance will drive better service for our customers while
delivering better potential returns to our investors.”

The combined company will have a seven-member Board of Directors with
balanced representation from Noble and Maersk Drilling. Initially, the Board of
Directors will be comprised of three directors designated by Noble, three directors
designated by Maersk Drilling, and Robert W. Eifler. Charles M. (Chuck) Sledge
will become chairman of the Board of Directors jointly appointed by Noble and
Maersk Drilling. Claus V. Hemmingsen will be one of the three directors
designated by Maersk Drilling.

The combined company will be headquartered in Houston, Texas, and will maintain
a significant operating presence in Stavanger, Norway, to retain proximity to
customers and support operations in the Norwegian sector and the broader North
Sea, and to ensure continued access to talent.

Transaction terms and structure
The transaction will be implemented by way of (i) a merger of Noble with and into
a wholly owned subsidiary of Noble Finco Limited, a private limited company
formed under the laws of England and Wales and an indirect, wholly owned
subsidiary of Noble (“Topco”), and (ii) a Danish voluntary tender exchange offer
by Topco to Maersk Drilling shareholders. In connection with the merger, (x) each
outstanding Noble share and penny warrant will be converted into the right to
receive one share of Topco, and (y) each issued tranche 1, tranche 2 and tranche 3
warrant will be converted into a warrant to purchase one share of
Topco. Additionally, pursuant to the exchange offer, Maersk Drilling shareholders
may exchange each Maersk Drilling share for 1.6137 Topco shares, and will in lieu
of their entitlement to certain Topco shares have the ability to elect cash
consideration for up to USD 1,000 of their Maersk Drilling shares (payable in
DKK), subject to an aggregate cash consideration cap of USD 50 million (excluding
any cash paid for fractional shares). Pursuant to the terms of the business
combination agreement, upon closing of the transaction, the Maersk Drilling
shareholders and the Noble shareholders will each own approximately 50% of the
outstanding shares of Topco, and those shares will be listed on both the NYSE and
Nasdaq Copenhagen. The approximate 50% ownership percentage of the Maersk
Drilling and Noble shareholders is calculated using 66.6 million shares for Noble
shareholders (which includes approximately 6.5 million penny warrants and
excludes dilution from outstanding warrant tranches and share based compensation




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       plans) and assumes that all Maersk Drilling shares are tendered in the exchange
       offer for shares.

       The transaction is subject to Noble shareholder approval, acceptance of the
       exchange offer by holders of at least 80% of Maersk Drilling shares, merger
       clearance and other regulatory approvals, listing on the NYSE and Nasdaq
       Copenhagen, and other customary conditions. The transaction is targeted to close
       in mid-2022.

       Advisors
       J.P. Morgan Securities plc is acting as sole financial advisor and Davis Polk &
       Wardwell London LLP and Gorrissen Federspiel Advokatpartnerselskab are
       serving as legal counsel to Maersk Drilling. Ducera Partners LLC and DNB Bank
       ASA are serving as financial advisor and Kirkland & Ellis LLP, Plesner
       Advokatpartnerselskab, and Travers Smith LLP are serving as legal counsel to
       Noble.

The Materially Incomplete and Misleading Proxy Statement

       21.     On April 11, 2022, the Board caused to be filed a materially incomplete and

misleading Proxy Statement with the SEC. The Proxy Statement, which recommends that Noble

stockholders vote their shares in favor of the Proposed Transaction, fails to disclose material

information to Company stockholders, or provides them with materially misleading information,

concerning the Company’s financial projections and the financial analyses that support the fairness

opinion provided by the Company’s financial advisor, Ducera.

Material Misrepresentations and/or Omissions Concerning Noble’s Financial Projections and
Ducera’s Financial Analyses

       22.     The Proxy Statement fails to disclose material information concerning the financial

projections for Noble.

       23.     With respect to Noble management’s Noble Case A, Noble Case B, Maersk Drilling

Case A and Maersk Drilling Case B projections, the Proxy Statement fails to disclose all line items

underlying: (i) Adjusted EBITDA; and (ii) Unlevered Free Cash Flow.




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       24.     The Proxy Statement also fails to disclose material information concerning

Ducera’s financial analyses.

       25.     With respect to Ducera’s Useful Life Discounted Cash Flow Analysis (“DCF”) of

each of Noble and Maersk Drilling, the Proxy Statement fails to disclose a quantification of: (i)

the inputs and assumptions underlying the discount rates ranging from 9.5% to 11.5%; (ii) net debt

as of September 30, 2021; and for the DCF of Noble, (iii) dilution from warrants.

       26.     With respect to Ducera’s 5-Year DCF of each of Noble and Maersk Drilling, the

Proxy Statement fails to disclose: (i) the terminal metric used in the analysis and quantification

thereof; (ii) quantification of the terminal values for the Company and Maersk Drilling; and (iii)

quantification of the inputs and assumptions underlying the discount rate range of 9.5% to 11.5%.

       27.     With respect to Ducera’s Publicly Traded Company Valuation Analysis of Noble,

the Proxy Statement fails to disclose: (i) the individual financial metrics for each of the selected

companies analyzed by Ducera; (ii) the value of Noble’s remaining value of firm contract backlog

as of September 30, 2021; and (iii) the sale proceeds received from Noble’s recent transaction with

ADES International Holding.

       28.     With respect to Ducera’s Publicly Traded Company Valuation Analysis of Maersk

Drilling, the Proxy Statement fails to disclose: (i) the individual financial metrics for each of the

selected companies analyzed by Ducera; (ii) the value of Maersk Drilling’s remaining value of

firm contract backlog as of September 30, 2021; and (iii) the sale proceeds received from Maersk

Drilling’s recent transaction with Havila Sirius.

       29.     In sum, the omission of the above-referenced information renders statements in the

“Projections Prepared by Noble’s Management” and “Opinion of Noble’s Financial Advisor”

sections of the Proxy Statement materially incomplete and misleading in contravention of the




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Exchange Act. Absent disclosure of the foregoing material information prior to the stockholder

vote, Plaintiff and the other stockholders of Noble will be unable to make a sufficiently informed

decision in connection with the Proposed Transaction and are thus threatened with irreparable

harm warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

  Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
                Thereunder Against the Individual Defendants and Noble

       30.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       31.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in light of the circumstances under which they were made,

omitted to state material facts necessary to make the statements therein not materially misleading,

in violation of Section 14(a) of the Exchange Act and Rule 14a-9. Noble is liable as the issuer of

these statements.

       32.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       33.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       34.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.




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       35.     The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       36.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act

and Rule 14a-9 promulgated thereunder.

       37.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm.

                                             COUNT II

                   Claims for Violation of Section 20(a) of the Exchange Act
                              Against the Individual Defendants

       38.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       39.     The Individual Defendants acted as controlling persons of Noble within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Noble and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

they had the power to influence and control and did influence and control, directly or indirectly,

the decision making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading.

       40.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

       41.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged




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herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

       42.      By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

Exchange Act.

       43.      As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As

a direct and proximate result of defendants’ conduct, Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of Noble, and against defendants, as follows:

       A.       Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction,

including the stockholder vote on the Proposed Transaction, unless and until defendants disclose

the material information identified above which has been omitted from the Proxy Statement;

       B.       In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.       Directing the Individual Defendants to file a Proxy Statement that does not contain

any untrue statements of material fact;

       D.       Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and




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     E.     Granting such other and further relief as this Court may deem just and proper.


                                      JURY DEMAND

     Plaintiff demands a trial by jury.



Dated: April 20, 2022                             ACOCELLI LAW, PLLC


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